                 Case 1:05-cr-00040-AWI Document 37 Filed 07/05/06 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #091175
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    JESUS GONZALEZ-FERNANDEZ
7
8                                    IN THE UNITED STATES DISTRICT COURT
9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )   NO. 1:05-cr-00040 AWI
                                                       )
12                            Plaintiff,               )   STIPULATION CONTINUING STATUS
                                                       )   CONFERENCE HEARING
13          v.                                         )   AND ORDER THEREON
                                                       )
14   JESUS GONZALEZ-FERNANDEZ,                         )   Date:     July 24, 2006
                                                       )   Time:     9:00 A.M.
15                            Defendant.               )   Judge:    Hon. Anthony W. Ishii
                                                       )
16                                                     )
17
18               IT IS HEREBY STIPULATED by and between the parties hereto through their respective
19   counsel that the status conference currently set for July 3, 2006, at 9:00 A.M., may be continued to
20   July 24, 2006.
21               The continuance is at the request of defense counsel to provide additional time to review the plea
22   and for further negotiations.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
               Case 1:05-cr-00040-AWI Document 37 Filed 07/05/06 Page 2 of 2


1              The parties agree that the delay resulting from the continuance shall be excluded in the interests
2    of justice, including but not limited to, the need for the period of time set forth herein in the interest of
3    justice and for effective defense preparation pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(i), and
4    3161(h)(8)(B)(iv).
5                                                                      McGREGOR W. SCOTT
                                                                       United States Attorney
6
                                                                       /s/ Francine Zepeda with consent of
7    DATED: June 29, 2006                                        By:        Marlon Cobar
                                                                       MARLON COBAR
8                                                                      Assistant United States Attorney
                                                                       Attorney for Plaintiff
9
10                                                                     DANIEL J. BRODERICK
                                                                       Federal Public Defender
11
12   DATED: June 29, 2006                                        By:     /s/ Francine Zepeda
                                                                       FRANCINE ZEPEDA
13                                                                     Assistant Federal Defender
                                                                       Attorneys for Defendant
14                                                                     JESUS GONZALEZ-FERNANDEZ
15
16
17                                                     ORDER
18             IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(1)(F),
19   3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(iv).
20
21   IT IS SO ORDERED.
22   Dated:     June 30, 2006                             /s/ Anthony W. Ishii
     0m8i78                                         UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28

     Stipulation Continuing Status Conference
     Hearing and [Proposed] Order Thereon                    2
